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                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF MARYLAND

           CHAMBERS OF                                                               6500 CIIERRYWOOD LANE
          PETER J. l\lESSITIE                                                      GREENBELT, MARYLAND 20770
    UNITED STATES DISTRICT JUDGE                                                            (301) 344-0670
                                                                                          (301) 344-3910 FAX




                                               October 19, 2022

    RE: Walter Black; III v. USAA General Indemnity Company, et al.,
    PJM-21-1581
                                             LETTER ORDER
Dear Parties:

        The undersigned has taken over this case from Judge Grimm, who has apparently
discovered a conflict of interest. This Letter Order addresses Defendants' Motion to Dismiss
Plaintiffs Complaint, ECF No. 39, and Plaintiffs letter Motion to Strike certain documents ·
attached to Defendants' motion, ECF No. 40. The Plaintiffs letter motion has been fully briefed 1
and, although Defendants' motion is not fully briefed, it raises a jurisdictional issue that the Court
must also review sua sponte,2 such that a full briefing on the merits is not needed to resolve the
jurisdictional issue. No hearing necessary. See Loe. R. 105.6 (D. Md. 2021). For the reasons stated
below, Plaintiffs letter motion is DENIED AS MOOT, Defendants' motion is DENIED
WITHOUT PREJUDICE, and this case is ADMINISTRATIVELY CLOSED until the
outcome of the anticipated administrative adjudication of Plaintiffs claims.

        Plaintiff Walter Black III .filed this putative class action complaint against Defendants,
USAA General Indemnity Company, Garrison Property and Casualty Insurance Company, United
Services Automobile Association, and USAA Casualty Insurance Company, alleging violation of
the Maryland Insurance Article §§ 27-216(b)(3)(i) and (b)(3)(ii)(2), breach of contract, and unjust
enrichment. Comp!., ECF No. 1. Plaintiff alleges that Defendants charged automobile insurance
policyholders late fees without the legally required approval from the Maryland Insurance
Commissioner, then entered into a Consent Order to remedy the violations, but thereafter failed to
fully compensate the members who had been improperly charged by not paying accrued interest
on the refunded fees. ECF No. I ,r,r 4-8. Defendants contend that this Court lacks subject matter
jurisdiction because Plaintiff "failed to exhaust his administrative remedies under Maryland's
comprehensive administrative procedures addressing unfair trade practices and other prohibited


            See ECF Nos. 40, 42, 43.
           . A court may consider subject matter jurisdiction sua sponte as part of its initial review of the
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Complaint. See Brickwood Contractors, Inc. v. Datanet Eng'g, Inc., 369 F.3d 385, 390 (4th Cir. 2004)
("[Q]uestions of subject-matter jurisdiction may be raised at any point during the proceedings and may (or,
more precisely, must) be raised sua sponte by the court."); Lovern v. Edwards, 190 F.3d 648, 654 (4th Cir.
1999) ("Determining the question of subject matter jurisdiction at the outset of the litigation is often the
most efficient procedure."). "If the court determines at any time that it lacks subject-matter jurisdiction, the
court must dismiss the action." Fed. R. Civ. P. 12(h)(3).
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